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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                        –Southern Division–



 CONSTANCE COLLINS, et al.,
                                                                Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.



                           Expert Report of Dr. Laura Boehler, DVM
        1.       I have been retained by counsel for Constance Collins and People for the Ethical
Treatment of Animals, Inc. to provide expert opinion testimony on the veterinary care, husbandry,
habitat conditions, and general welfare of the chickens, ducks, camelids, sheep, pigs, goats, emus,
reptiles, birds, raccoon, kinkajous, and coatimundis housed at the Tri-State Zoological Park of
Western Maryland (Tri-State) in Cumberland, Maryland.

        BACKGROUND AND QUALIFICATIONS

        2.     I earned my veterinary degree from University of California, Davis School of
Veterinary Medicine in 2013. During school, my studies focused on zoological, and avian and
exotic animal medicine. Since graduation I have spent several years working as a full-time exotic
animal veterinarian and have practiced in California, Florida, and Utah. I am currently employed
as the veterinarian for the Exotic Animal Medicine and Surgery Department at Mountain West
Veterinary Specialists, a twenty-four-hour Specialty Hospital in Layton, Utah. I developed an
exotic animal medicine department at this hospital so I could apply and practice cutting-edge
medicine, including advanced imaging and specialty surgery, to the thousands of avian and exotic
animals in the state of Utah that I see per year. I currently hold a veterinary license in the states of
Utah and California. I am a member of the American Veterinary Medical Association, the
Association of Exotic Mammal Veterinarians, the Association of Avian Veterinarians, and the
Association of Reptile and Amphibian Veterinarians. I attend biannual continuing education
training in exotic animal medicine, husbandry, and surgery to stay current on the latest treatment
recommendations for the species I work with.

      3.     As a full-time exotic animal veterinarian, I spend an average of sixty hours per
week performing physical exams, parasite evaluations, vaccinations, abdominal ultrasounds, CT

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scans, radiographs, husbandry and nutritional consults, diagnosing diseases, treating a high volume
of emergencies, and performing advanced procedures and surgeries on exotic animals. After
spending years working solely with exotic animals, I understand that exotic animals require
specialized care not commonly practiced by average veterinarians. In light of that, in addition to
my lengthy days in the clinic, I am available and on-call for after-hour emergency calls and provide
remote support to local veterinarians for the species I work with. In addition to the above tasks, I
perform house call services for local exotic animals and farm sanctuaries. Species I have extensive
experience working with include, but are not limited to: lagomorphs and rodents; marsupials,
including sugar gliders and opossums; procyonidae including kinkajous, raccoons, and
coatimundis; erinacidae; wild and domestic canids; wild and domestic felids; primates including
great apes and monkeys; farmed animals, including hoofstock, pigs, and poultry; reptiles including
lizards, snakes, turtles, tortoises, and amphibians; mephitidae and mustelids; and birds of various
species, including domestics, ratites, waterfowl, birds of prey, parrots, and other exotics. I have
provided veterinary care to the above listed species, and I am familiar with their specific husbandry
needs and veterinary requirements.

       4.      Before attending veterinary school, I spent over six years working as a caregiver
and veterinary assistant at a variety of exotic animal facilities and wildlife rehabilitation centers in
California and Texas.

       5.     In the past four years, I have testified as an expert at trial in Kuehl v. Sellner, No.
EQCV008505 (Iowa Dist. Ct.), and I have been deposed as an expert in Animal Legal Defense
Fund v. Lucas, No. CV 2:19-40 (W.D. Pa.).

      6.       My full qualifications are listed in my curriculum vitae, attached hereto as
Appendix I. I have not authored any publications in the previous ten years.

        7.     My earlier experience in exotic animal care and sanctuary work and my career as a
full-time exotic animal veterinarian have given me the experience needed to provide my opinion
as an expert witness on the care of the animals at Tri-State.

        COMPENSATION

        8.     I am being compensated at a rate of $150/hour, up to a maximum of $1,800.00 per
day, for my time spent in connection with this case.

        RESOURCES

        9.       In preparing my opinion, I considered the following resources:

                Direct observations made during Plaintiffs’ site inspection of Tri-State on July 19,
                 2021;

                Photographs and videos of the animals at Tri-State, including those taken on March
                 3, 2018, September 22, 2019, and the July 19, 2021 site inspection;

                Review of the U.S. Department of Agriculture Inspection reports of Tri-State;


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               Defendants’ responses to PETA’s requests for documents;

               Defendants’ responses to PETA’s interrogatories;

               Dr. John Timothy Fox’s responses to PETA’s subpoena to produce documents
                regarding the animals at Tri-State (Fox 000001–Fox 000082);

               Dr. Gale Duncan’s responses to PETA’s subpoena to produce documents regarding
                the animals at Tri-State (MVS00001–MVS00520);

               Dr. Keith Gold’s responses to PETA’s subpoena to produce documents regarding
                the animals at Tri-State (CAH00001–CAH00192);

               Declaration of William McGuire (August 26, 2021); and

               Deposition transcripts of Defendants, Defendants’ veterinarians, and Defendants’
                volunteer, Rella Moon.

        10.     Resources I used to support my opinion that are not cited in the footnotes of my
report are listed in Appendix II.

       METHODOLOGY

       11.      My opinion and evaluation of Tri-State is based on my observations of the facility
on July 19, 2021, and my review of the above referenced videos, photographs, documents, and
deposition testimony.

        12.     During the July 19, 2021 site inspection and my review of the photos and videos
taken at Tri-State, I visually inspected the species I have opined on, and formed my opinions based
on enclosure design and level of cleanliness, the substrates provided, the ambient temperatures,
and the quality of food and water in the animals’ enclosures. Wherever possible, I also assessed
the overall body condition, hydration status, mobility, mental status, and general health of the
animals.

       13.      The guidelines I use and reference when inspecting a facility include the Global
Federation of Animal Sanctuaries’ Operation Standards, the Association of Zoo and Aquariums’
Accreditation Standards, and the Animal Welfare Act and its regulations.1 I also compared the care
provided to the animals at Tri-State to the generally accepted and well-known industry care
standards listed in Appendix II of my report.



1
  See Global Federation of Animal Sanctuaries, Operations Standards (2019), https://www.sanctuary
federation.org/wp-content/uploads/2019/07/Revised-Operations-Standards-2019.pdf; Ass’n of Zoos &
Aquariums, The Accreditation Standards & Related Policies (2021), https://assets.speakcdn.com/assets/
2332/aza-accreditation-standards.pdf; U.S. Dep’t of Agriculture Animal Care, Animal Welfare Act and
Animal Welfare Regulations, https://www.aphis.usda.gov/animal welfare/downloads/bluebook-ac-
awa.pdf .

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Key factors I used in evaluating the overall facility condition include:
           1) Animal Care, Welfare, & Well-Being;

           2) Veterinary Care;

           3) Education and Experience of the staff with the species cared for

           4) Safety & Security (Public and Animal Safety, Staff Training, and Preparedness);
              and

           5) Physical Facilities (Facility maintenance, sanitation standards).

       14.      In preparing my report, I organized my review of the evidence of Tri-State’s animal
care by the following categories:

           1) A species-specific review of the animals visualized during my July 19, 2021 site
              inspection;

           2) Additional examples of inadequate veterinary care provided to the animals; and

           3) Examples of how enclosure and facility hazards directly threaten the safety and
              health of the animals at Tri-State.

       SPECIES-SPECIFIC REVIEW OF INADEQUATE ANIMAL CARE AND CONDITIONS VISUALIZED
       DURING JULY 19, 2021 SITE INSPECTION OF TRI-STATE.

    A. Reptile House: Neglect and Suffering of Animals Housed at Tri-State

        15.     Upon entry into the reptile house, I was overwhelmed by the horrific and squalid
conditions that I encountered. The building is dark and dungeon-like and there were countless
spider webs in the building and in several cages. The building itself was filthy—contaminated with
months of accumulation of dirt, grime, and what appeared to be animal waste.2 The strong stench
of excessive accumulations of animal feces and urine, moldy food, and substrates and bedding
soiled with waste and filth permeated the room. The horrific site and odor were equally unbearable
to the point that it triggered my gag reflex and gave me an extreme feeling of nausea.

        16.     The reptile house contained a variety of thin, malnourished, dehydrated, and
deformed snakes, lizards, and turtles that, based on the environment they were housed in, were
victims of inadequate care. It did not surprise me to learn that many of the reptiles previously
housed in this building have died.3 I noted several ill, dehydrated, malnourished and lethargic
reptiles during my visual exam of the animals’ in July 2021 and my review of the March 2018 site

2
 See, e.g., PETA011084 (Jul. 19, 2021); PETA010439 (Jul. 19, 2021); PETA010043 (Jul. 19, 2021);
PETA010638 (Jul. 19, 2021); PETA011240 (Jul. 19, 2021).
3
 See Rule 30(b)(6) Deposition of Tri-State Zoological Park of Western Maryland, Inc. and Animal Park,
Care & Rescue Corporate Designee Robert Candy (“Candy 30(b)(6) Dep.”) Exh., Aug. 11, 2021, 132 at 5–
7.

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inspection video.4 Based on my observations of inadequate UV light, improper bedding, and
improper diet combined with abnormalities seen on my visual inspection of the animals, I suspect
the lizards, including the green iguanas, the spiny tailed iguanas, and the newt, are suffering from
metabolic bone disease.5 Metabolic bone disease is a disease common in reptiles housed indoors
who are deprived of UV light and essential vitamins and minerals, including calcium, phosphorus,
vitamin D, and vitamin A. When diets for reptiles are deficient in the above minerals and vitamins,
or otherwise out of balance, it can lead to low blood calcium levels (hypocalcemia), which
ultimately leads to the demineralization of bone. Hypocalcemia commonly causes spinal
deformities, pathologic bone fractures, paresis, seizures, bone infection, weakened immune
system, and gastrointestinal ileus in reptiles. Common causes of metabolic bone disease include
lack of adequate calcium intake due to inadequate supplementation in the diet, or when reptiles are
fed a diet with an inappropriate calcium: phosphorus ratio.6 Metabolic bone disease also commonly
occurs when animals are deprived of appropriate UV light exposure, i.e., incorrect spectrum,
insufficient length of UV exposure, or housing animals indoors with natural sunlight filtered
through a glass window.

        17.    In addition, animals chronically kept in tanks with inappropriately low
temperatures and low humidity can develop articular gout and metabolic bone disease. Low
temperature impedes digestion of nutrients and low humidity leads to chronic dehydration and
damages the kidneys, which play a vital role in vitamin D and calcium metabolism. Tri-State does
not use any reliable means to monitor or regulate temperatures or humidity in the animal
enclosures.7 Further, despite staff testimony that the temperature in the reptile house is 90 degrees,
the ambient temperatures in many of the reptile enclosures were in the mid 70’s.8 One of the “five
freedoms” of animal welfare is the freedom from discomfort: at minimum, the reptiles housed at
Tri-State should be provided with a safe and appropriate environment including appropriate

4
    See, e.g., ESA-PETA0001993 at 12:42 at 16:31 (Mar. 3, 3021).
5
    See infra ¶¶ 18–20.
6
 MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY (Stephen Divers & Scott Stahl eds., 3rd ed.
2019); Lafeber Vet, https://lafeber.com/vet/ (last accessed Sept. 10, 2021).
7
  Deposition of Dr. Gale Duncan (“Duncan Dep.”) 187:8-19, Jun. 30, 2021 (“Q. Did you ever assess the
humidity in any of the reptile enclosures? A. Once or twice but only as far as skin feel, not with any kind
of measuring instrument. Q. How did you assess the humidity based on the skin feel? A. Just basically I
mean obviously it did feel humid or dry to us but we didn’t have any measuring equipment with us.”);
Deposition of Dr. Keith Gold (“Gold Dep.”) 125:19–126:9, Jul. 15, 2021 (consulting veterinarian testimony
regarding his lack of knowledge of the actual temperature in the animals’ enclosures and whether the
humidity in the reptile enclosures is monitored or regulated in any way, and that he did not assess the
humidity in the reptile enclosures); Deposition of Rella Moon (“Moon Dep.”) 139:2–21, June. 30, 2021
(testimony regarding the temperature in the reptile house and staff’s admission that the temperature inside
specific reptile enclosures is not monitored); id. 140:4–141:3 (testifying that all reptile enclosures in the
reptile house are kept at the same temperature, that there is no monitoring system for the humidity in the
reptile house, and that the only instruction that Mr. Candy has provided regarding the temperature in the
reptile house is to “make sure that it stays hot in there.”).
8
 Moon Dep. 22:17–23, 139:2–141:3, June 30, 2021; see also, e.g., PETA011237 (temperature reading of
73.6); PETA010642 (temperature reading of 75.4); PETA010966 (temperature reading of 73.1);
PETA10694 (thermometer in reptile house reading ~74).

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temperature, humidity, shelter and resting area in accordance with the needs of each species.9 Tri-
State’s failure to monitor environmental temperature and humidity demonstrates their lack of
concern for the reptiles’ basic comfort and needs, which can seriously impact their long-term
health and lead to kidney failure, pathologic bone fractures, and gout, all of which are painful
conditions.

       a)      Green Iguanas

        18.      The green iguanas were housed on artificial grass carpet, without access to moist
soil or direct sunlight. Although the green iguana’s have a window in their enclosure, the window
filters out the UV light the animals need to metabolize calcium and prevent development of
metabolic bone disease. Green Iguanas are highly susceptible to metabolic bone disease in
captivity and, at a minimum, should be provided with an enclosure with regular access to natural
sunlight, appropriate humidity, and a diet supplemented with calcium. There was a heat lamp
present in the green iguana enclosure; however, the lights are not changed with enough frequency
to provide the animals with appropriate UV light. Specifically, on average, artificial UV light
degrades in the commercial bulbs marketed for reptiles after 6 months. Because of this, the UV
level should be monitored by a UV light meter. Tri-State uses “[c]ommercial UV lights” but only
changes them “when they go out.”10 Further, I saw no evidence that Tri-State ever (let alone
routinely) uses a UV light meter in the reptile house. Therefore, Tri-State is not appropriately and
adequately providing the reptiles with proper UV light to prevent development of metabolic bone
disease, which predisposes them to a variety of painful diseases including pathologic bone
fractures and stomatitis.

         19.     During the July 19, 2021 site inspection, I observed a green iguana with tail necrosis
lying flat and listless, demonstrating a lack of truncal and carpal lift, which is a hallmark sign of
illness in lizards.11 Instead of basking under the small heat lamp, the animal is choosing to lie flat
in the dark corner away from light. In addition, his body condition is thin and his skin is tented,
dull in color, and dry with dysecdysis present, which is a result of dehydration and poor humidity,
bacterial or fungal skin infection, and malnutrition resulting in low protein levels in the blood. The
iguana’s dorsal spines are dull and missing which is also a sign of poor humidity, dehydration and
nutritional deficiency.12 A second green iguana is also dull in color, has evidence of retained shed,
and broken or bent dorsal spines.13 The green iguanas I observed were dull color, lethargic, and
had abnormal lethargic behaviors and postures. The green iguanas had evidence of illness
secondary to poor husbandry, and all of the above-mentioned conditions (tail necrosis, dyecdysis,
missing dorsal spines, and bone deformities), which are common in lizards deprived of proper
care, can be painful, lead to kidney failure and metabolic bone disease, systemic infections, and



9
    See MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY, surap note 6 at 1478.
10
     Candy 30(b)(6) Dep. 169:9–19, Aug. 11, 2021.
11
     See PETA011757, PETA011308, PETA011784 (Jul. 19, 2021).
12
     See, e.g., PETA011551 (Jul. 19, 2021).
13
     See PETA011784 (Jul. 19, 2021) (green iguana in bottom right of photo).

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cause unnecessary pain and suffering. These animals are likely suffering from metabolic bone
disease and need veterinary care to reverse it.

           b)      Spiny Tailed Iguana

        20.     The spiny tailed iguana has evidence of tail rot, also known as ascending necrosis
lesions of the tail, which is a direct result of poor nutrition, inadequate humidity, inadequate UV
light, and poor husbandry.14 The lizard has several areas of dyecdysis or retained shed on the tail
and body.15 When lizards are not provided adequate humidity, skin that is supposed to be shed will
stay on the body and form constrictive rings on the digits and tail. The rings constrict until parts
of the body necrose from lack of blood flow and fall off or lead to ascending necrosis that spreads
further up the tail and limbs. This condition causes unnecessary pain and suffering for the animal.
The appropriate treatments to correct tail necrosis include warm water soaks, manual removal of
shed rings, analgesics, antibiotics, fluid therapy, calcium supplementation, nutritional support, and
provision of appropriate humidity and hydration. In addition, surgical amputation of the diseased
extremity is the recommended treatment for this. I have not reviewed any documents to indicate
that the spiny tailed iguana has received any treatment for his tail rot and therefore, he is
unnecessarily suffering from a painful condition that is not being treated or corrected by the Tri-
State.

           c)      Snakes: Ball python, Woma Python, Reticulated Python, Dumeril Boa

        21.      The dumeril boa, ball pythons, Woma python, and reticulated pythons were housed
in enclosures that were too small for the size of the snakes to fully stretch out. On average, the
enclosure should be at least as large as the length of the snake in all dimensions to allow it to fully
stretch out. If the animals are unable to stretch out, over time this can lead to vertebral arthritis and
deformity, constipation, and chronic pain. The reticulated python cage was approximately half the
size expected for a full-grown reticulated python. Reticulated pythons can reach up to 16 feet in
length and need access to a large body of clean water to completely submerge in. Ball pythons are
solitary animals, but during my inspection, I noted two ball pythons housed together in one tank.
Housing the two snakes together threatens the welfare of the ball pythons as this adds
environmental stressors including territoriality and competition between the snakes for shelter (one
of the logs appears too small for the snakes to fully hide under), heat and resources, and space (by
limiting the amount of room each snake has to move freely).

        22.      The substrates provided to the snakes were artificial grass mats, which are
impossible to adequately disinfect and maintain proper humidity.16 The pythons should be housed
on a soil-based substrate with a heat source and humidifier to maintain proper optimal temperature
and humidity for survival. On average the pythons require a humidity range of 50-70% and should
always be provided with a clean water bowl large enough for the snake to completely immerse its


14
     PETA011755 & PETA011756 (Jul. 19, 2021).
15
     Id.
16
  See, e.g., PETA011399, PETA011560, PETA010443, PETA011340 (Jul. 19, 2021) (photographs of
snake enclosures with artificial grass substrates).

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body, and heavy enough that the animal will not tip it over. Ball pythons should always have access
to a humidity box or a hiding place filled halfway with damp sphagnum moss.

        23.      The Dumeril boa has a heat rock in his tank.17 Heat rocks are not safe as snakes will
routinely coil around heat rocks and develop thermal burns. Instead, an over tank heater should be
used, as it is safe and prevents thermal burns. The Dumeril boa is also housed on an artificial grass
mat instead of an appropriate substrate such as coconut fiber of sphagnum peat moss which
deprives the animal of appropriate humidity. Poor humidity and inadequate heat, like the
conditions at Tri-State, predispose all the snakes to chronic dehydration and indigestion, stomatitis,
respiratory infection, chronic constipation, renal failure, and dysecdysis. Dysecdysis is a difficulty
shedding, which in snakes often results in tail tip necrosis and corneal ulcerations when the
spectacles remain on the surface of the eyes during a difficult shed. All of these conditions are
painful and easily prevented by providing the animals with proper substrate, optimal temperature
zones, and appropriate humidity.

        24.    The ball pythons appeared dehydrated. Their condition is most likely a result of
inadequate humidity, as the humidity at Tri-State is not monitored in any way.18 The reticulated
python was housed in a filthy enclosure with a plastic tub, which appeared to be the top half of a
small dog or cat carrier, to hide under.19 The enclosure also contained a dish of green water that
was too filthy and too small for an adult snake to submerge in fully.20 The reticulated python
enclosure was lined with artificial grass instead of moist soil recommended for the species and the
enclosure contained an accumulation of thick urates (urine waste) and chunks of disconnected shed
which are both indicators of inadequate humidity. Similarly, video from the March 2018 site
inspection (ESA-PETA0001993 at 12:43) shows very thin and dehydrated Burmese pythons
housed on repticarpet instead of moist substrate. The snakes are sitting next to a tub of shallow
green colored water that is not suitable for drinking or soaking in. A similar scenario is observed
in ESA-PETA0001993 at 16:31, which shows a thin, dehydrated snake in a filthy glass tank with
no substrate or clean water. The snakes are deprived of appropriate substrate and clean water,
which over time can lead to dehydration, kidney disease and even death.




17
     PETA011340 (Jul. 19, 2021).
18
  See Duncan Dep. 187:8-19, Jun. 30, 2021 (“Q. Did you ever assess the humidity in any of the reptile
enclosures? A. Once or twice but only as far as skin feel, not with any kind of measuring instrument. Q.
How did you assess the humidity based on the skin feel? A. Just basically I mean obviously it did feel
humid or dry to us but we didn’t have any measuring equipment with us.”); Gold Dep. 125:19–126:9
(consulting veterinarian testimony regarding his lack of knowledge regarding whether the humidity in the
reptile enclosures is monitored or regulated in any way; Gold did not assess the humidity in the reptile
enclosures); Moon Dep. 140:4–141:3 (testifying that all reptile enclosures in the reptile house are kept at
the same temperature, that there is no monitoring system for the humidity in the reptile house, and that the
only instruction that Mr. Candy has provided regarding the temperature in the reptile house is to “make sure
that it stays hot in there.”).
19
     PETA011399 (Jul. 19, 2021).
20
     PETA011270 (Jul. 19, 2021).

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       25.      Temperature provision is an important husbandry parameter in the overall health
and welfare of the captive snakes. Snakes are ectothermic and depend on environmental
temperature to regulate their core body temperature. In a captive setting, providing a thermal
gradient to allow the snake to move in and out of preferred temperature zones (similar to the
temperatures they would experience in the wild) will allow proper thermoregulation.21 The
ambient temperatures in the snake enclosures were in the mid 70’s, which is too cold for all of the
above snakes in question.22 The enclosures are also too small to provide a proper thermal gradient.
In PETA011345, a ball python is visible extending up toward the heat lamp to get warmth.23 This
behavior is unusual, as comfortable ball pythons typically rest in a coiled position under a log or
moss. The reticulated python enclosure was also too cold. Although heat rocks were present as a
source of heat, heat rocks are no longer recommended as they commonly result in thermal burns.

       d)      The Leopard Gecko

        26.     The leopard gecko is housed on wood shavings, a completely inappropriate
substrate for a gecko as the oils in the wood shavings can be extremely irritating to the airways,
skin, and the eyes.24 Geckos should be housed on cypress mulch or coconut fiber. The gecko’s
water was also dirty and the water bowl itself was too high for the species, such that the gecko
would have to climb in and out of the water bowl to access water. The gecko should have access
to a small, shallow dish of water. There was no visible food or calcium powder in the tank. The
tank temperature was also too low and there was no humidity box in the tank, which can lead to
retained shed and digit and tail constriction and necrosis. Ms. Moon stated that the geckos are fed
primarily fruit, vegetables and crickets, which is inappropriate.25 Instead, leopard geckos should
be fed a variety of insects that have been gut-loaded and dusted with calcium, including
appropriately sized Phoenix worms, mealworms, and superworms, and an occasional pinky mouse.

       27.      The leopard gecko is not provided with basic sustenance or appropriate husbandry
including substrate, water, calcium, nutrition, and this harms the gecko, predisposes it to kidney
disease and metabolic bone disease, difficulty shedding, endoparasites, and causes unnecessary
pain and suffering.

       e)      Bearded dragon

       28.      The 2018 site inspection video also shows a bearded dragon in a tank with a mix of
iceberg lettuce and bananas.26 There are several issues with this clip. First, iceberg lettuce is devoid
of adequate nutrition for the bearded dragon. Second, below the lizard’s basking light is an

21
     MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY, supra note 6.
22
  See, e.g., PETA011237 (temperature reading of 73.6);PETA010642 (temperature reading of 75.4); see
also Brad A. Lock & Jim Wellehan, Ophidia (Snakes) in 8 FOWLER’S ZOO AND WILD ANIMAL MEDICINE
(2015).
23
     PETA011345 (Jul. 19, 2021).
24
     See PETA010047 (Jul. 19, 2021).
25
     See Moon Dep. 132:14–17, Aug. 10, 2021.
26
     ESA - PETA 0001993 at 18:23 (Mar. 3, 2018).

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inappropriate climbing structure blocking the lizard from being able to bask under the heat lamp.
Third, there is no thermometer on the tank to ensure a proper temperature gradient is provided,
which generally ranges from 80 degrees Fahrenheit on the cooler zone to 100 degrees Fahrenheit
on the basking or hot zone. The lizard’s color is dull and there is evidence of dysecdysis or patchy
shed which can cause tail and digit constriction and necrosis.

       f)      Box Turtles

        29.     The two box turtles in the reptile house do not have access to soil to burrow and
engage in their natural behaviors.27 They do not have adequate humidity and their skin appeared
dry and cracked. Additionally, the animals do not have clean water and the tank is too small. They
are also denied appropriate nutrition. According to Ms. Moon, the box turtles are solely fed fruits
and vegetables.28 This is inappropriate as box turtles are primarily carnivorous as juveniles, and
require animal proteins such as mealworms, king worms, earthworms, slugs, snails, pinky mice,
and crickets.29 As adults, box turtles are omnivorous and require 10 - 50% meat protein in their
diet in addition to fruits and vegetables.30 The inadequate conditions described above, including
inappropriate humidity, nutrition and enclosures, harm the animals and predispose them to
hypovitaminosis A, systemic infection, metabolic bone disease, egg binding, bladder stones,
endoparasites, and respiratory tract infections.

       g)      Kinkajou: Keiko

        30.    In addition to reptiles, the reptile house contained two exotic mammals, a kinkajou
named Keiko and a squirrel monkey. A kinkajou named Mud was also housed in the reptile house
until he was transferred to a third-party days before Plaintiffs’ site inspection.31 The kinkajous
are/were housed in filthy, dark enclosures with poor ventilation, and lack of access to natural
sunlight. The enclosures and the surrounding areas were so filthy, they looked and smelled like an
accumulation of feces, urine, and rotten food had been festering for months.32

       31.     The kinkajou Keiko is suffering and deprived of adequate food, water, shelter, clean
bedding, enrichment, and proper sized caging. According to Ms. Moon, the kinkajou is fed fruit,
vegetables (“cucumbers, tomatoes, and a little bit of lettuce”), dog food, and also cookies, cake,



27
     See PETA011556 & PETA011557 (Jul. 19, 2021).
28
     Moon Dep. 130:17–21, Aug. 10, 2021.
29
 See Lafeber Vet, Care of the Box Turtle, https://lafeber.com/vet/wp-content/uploads/Box-Turtle-black-
white.pdf; MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY, supra note 6 at 175.
30
 See Lafeber Vet, Care of the Box Turtle, https://lafeber.com/vet/wp-content/uploads/Box-Turtle-black-
white.pdf; MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY, supra note 6 at 175.
31
  Candy 30(b)(6) Dep. 24:21–24, Aug. 11, 2021 (“Q. According to your records, Mud was released to
Aaron Mangold on July 17th, 2021. Correct? A. Correct.”).
32
   PETA011544 & PTA011126 (Jul. 19, 2021) (Mud’s empty enclosure); PETA011051 (Keiko’s
enclosure).

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and pie as treats.33 The species is mostly frugivorous, but also eats insects and small vertebrates.34
Cake, cookies, and pies contain an excess of sugars and fats that can lead to obesity and
pancreatitis.

         32.    The kinkajou’s cage was too small and incredibly disgusting. It was one of the most
disturbing enclosures I encountered at the site inspection. In a Facebook post dated June 19, 2018,
Keiko’s former owners expressed concern that Keiko’s living conditions were not adequate and
started a Go Fund Me Page to fundraise to upgrade Keiko’s enclosure.35 Sadly, three years later,
Keiko is languishing in a dark, malodorous dungeon-like room located in the reptile house. He
does not have access to fresh air or sunshine, and instead lives inside the poorly ventilated reptile
room that reeks of animal waste and filth. Keiko has only a filthy sac to sleep in. Kinkajous carry
Baylis Ascaris, a roundworm parasite that can cause fatal encephalitis in humans and, with the
amount of accumulated feces in the kinkajou enclosure, all the staff and surrounding animals are
at risk of contracting Baylis ascaris.

       h)      Domestic and Feral Cats

        33.      Within the reptile house, there is a room adjacent to the area where the reptiles are
housed which contained several litter boxes with an accumulation of feces and urine. During
Plaintiffs’ site inspection, multiple cats went in and out of the reptile house. The presence of the
cats puts the reptiles, squirrel monkey and kinkajou at risk for contracting parasites including
Toxoplasmosis, which is shed in cat feces. Toxoplasmosis can cause fatal meningoencephalitis in
captive housed kinkajous and squirrel monkeys. In addition, the exhibit animals can be scratched
by the free-roaming cats though the fences of their enclosures.

        34.     The cats freely roam around Tri-State. Feces from the free roaming cats is scattered
all over the compound, including in the grass where farm animals and large tortoises are supposed
to be grazing for food. The likelihood of these animals ingesting parasites from the felids, including
toxoplasmosis is high.

      B. Outdoor Reptile, Farmed Animal, Bird, and Procyonidae Exhibits

       i)      Alligators

       35.       In the summer months, Tri-State houses three alligators in a concrete or asphalt
area with pooled water.36 The “pool” is too small for the three alligators and does not allow them
to exhibit their natural behaviors. A fourth alligator is confined to a small box-like structure.37 In
the winter months, three of the alligators are confined indoors in the reptile house in the small pen
located under the iguana and squirrel monkey enclosure and one of the alligators is confined to a


33
     Moon Dep. 84:23–86:2, Aug. 10, 2021.
34
     FOWLER’S ZOO AND WILD ANIMAL MEDICINE Vol. 8 at 492 (2015).
35
     Candy 30(b)(6) Dep., June 24, 2021, Exh. 10.
36
     See PETA011260 (Jul. 19, 2021).
37
     See PETA010004 (Jul. 19, 2021).

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stock tank in the furnace room under the reptile house.38 The unsanitary and filthy enclosures do
not allow the animals to exhibit their natural behaviors. Alligators are poikilothermic and regulate
their body temperature by using external environmental heat sources.39 Their ideal temperature
range is 77-95 degrees Fahrenheit. Temperatures below this interfere with digestion and can lead
to malnutrition secondary to anorexia. Water quality parameters for alligators should be modeled
after the same parameters used for fish, and includes mechanical, biological and chemical filtration
with routine testing of water quality parameters.40 None of these measures to ensure proper health
and water quality for the alligators have been taken at Tri-State. This predisposes the alligators to
a variety of illness and infectious diseases including bacterial, viral, and fungal diseases that can
occur secondary to poor water quality.

        36.     In a video that was posted to Facebook, Mr. Candy can be observed harassing one
of the alligators, Elvis, to the point of extreme stress.41 Elvis, who is visibly startled and forced out
of his tiny shelter of filthy water, is aggressively chased, restrained, and his mouth is taped shut
with duct tape. This is a horrific display of animal abuse and is no longer considered an effective
method of restraint for alligators. Before his mouth is taped shut, Elvis is hissing loudly throughout
the video, and is obviously very fatigued and stressed. This type of harassment and exposure to
stress puts the alligators at risk of capture myopathy. In addition, Elvis is a juvenile alligator, and
this method of intimidation and aggressive restraint will no longer be effective when he is large
enough to resist this form of abusive restraint. Mr. Candy’s handling and restraint of Elvis is not
considered industry standard in zoos and facilities that keep alligators. Appropriate handling of
captive housed alligators can be done by conditioning them to voluntarily enter a crate or small
restraint cage for veterinary evaluations and sample collections. Mr. Candy’s aggressive restraint
and wrangling of the animal was performed in front of Tri-State visitors. This type of handling
directly miseducates the public regarding the proper and humane treatment of alligators.

           j)      Turtles and Tortoises

        37.     The outdoor tortoise and turtle habitat is a mixed sectional habitat with a variety of
turtles and terrestrial tortoise species housed in close proximity in enclosures too small for the
animals. For example, the red eared sliders are housed in filthy, green pond water, and the
enclosure is too small to allow for the animals to exhibit natural behaviors, such as foraging,
burrowing, basking, swimming, diving, and exercising.

        38.     The winter enclosure for the red eared sliders, box turtles, Russian tortoise, red-
footed tortoise, and leopard tortoise, is dark and void of UV light.42 In March 2018, there was one
red night light in one corner of the tortoise cage that is devoid of UV spectrum light necessary for
calcium metabolism and prevention of metabolic bone disease. There are also are too many turtles

38
  See, e.g., Moon Dep., 146:21–147:9, Aug. 10, 2021 & Exh. 128; ESA-PETA0001993 at 13:35 (Mar. 3,
2018).
39
     FOWLER’S ZOO AND WILD ANIMAL MEDICINE Vol. 8 (2015).
40
     Id.
41
     PETA012459, PETA012458.
42
     ESA - PETAA0001993 at 12:12 (Mar. 3, 2021); see also Moon Dep. 147:17–148:15, Aug. 10, 2021.

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and tortoises in one pen; many of the tortoise shells are pyramiding, which is secondary to
malnutrition, inadequate heat, and metabolic bone disease. The floor of the winter enclosure is also
filthy, and the produce offered as food appears wilted and rotten.

        39.      The Sulcata tortoises have deformed shells, severe pyramiding, and broken beaks—
all of which are often a result of poor diet, hypovitaminosis A, lack of clean and adequate soil
substrate for burrowing, and lack of access to clean drinking water. The buildup of farm animal
and conspecific tortoise feces in the grass they graze on (in the summer months) predisposes them
to disease transmission between species, and threatens the welfare of the sulcatas. Diseases that
can be spread between species and cause illness include: severe pyramiding, gastrointestinal
parasites, viral and bacterial respiratory infections. During the site inspection, the water source that
was nearby the tortoises was filthy.43 PETA011295 shows a sulcata sitting in a corner of a shed.
The substrate is primarily stone or concrete bricks, with scattered bird feathers and feces.44 This is
unsanitary and inadequate padding for the large reptile. The sulcatas require soft substrate to
cushion their heavy bodies.

        40.     During the site inspection, I observed a sulcata tortoise who was extremely
lethargic, immobile, and laying with his head extended out.45 This is an abnormal posture; the
animal appeared weak and listless, most likely to chronic dehydration, and/or filthy conditions
which can cause intestinal parasites and malnutrition. The animal is most likely profoundly
dehydrated and possibly suffering from kidney failure, as there was no clean water source for the
sulcatas in sight. The large, heavy bodied animals are forced to live indoors in the reptile house
during winter within the filth and stench of the unsanitary and unsafe building46 In addition to
being unsanitary, the space is not adequately filled with substrate to cushion the heavy bodied
animals from the hard concrete floors which can lead to pressure sores on the weight bearing
surfaces of the limbs and osteoarthritis which are painful conditions. The winter house is also too
small for the size of the sulcate tortoises as they cannot comfortably ambulate around without
bumping into each other. In addition, the food shown in the 2018 inspection video appears old and
primarily consists of a mix of iceberg lettuce and spring mix which is inadequate and devoid of
proper nutrients.47

        41.     In the wild, Sulcatas come from hot, arid deserts in Africa and are active all year
long, and do not enter a state of dormancy or hibernation. However, in the winter, Tri-State houses
the sulcatas in the reptile house where they are forced to rest stationary on the cold concrete floors
that are not adequately lined with substrate soil and in the building that is not adequately heated
during winter. Sulcatas are a burrowing chelonian species and should always have access to soil
that they can burrow in. The failure of Tri-State to provide sulcatas with proper environmental
temperatures yearlong deprives the sulcatas of basic needs to thrive and the ability to exhibit their
natural behaviors. Reptiles are ectotherms and their body temperature is dependent on the

43
     PETA012042 (Jul. 19, 2021).
44
     PETA011295 (Jul. 19, 2021).
45
     PETA011985 & PETA011986 (Jul. 19, 2021).
46
     See ESA-PETA0001993 at 14:01(Mar. 3, 2021).
47
     See id. at 17:16.

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environmental temperature. Sulcatas should be kept at a temperature range of 80-95 degrees
Fahrenheit during the day and not drop below 75 degrees Fahreinheit at night. The immune system
function is enhanced when reptiles are provided with their ideal temperature ranges and they are
able to reach their preferred optimal temperatures.48 In addition, the lighting shown in the site
inspection video is an infrared night light not a daytime light with appropriate UV spectrum that
stimulates activity and appetite. The lack of Tri-State’s provision of adequate space, nutrition and
lighting during the winter months deprives the sulcate tortoises of their basic needs which threatens
their health and welfare.

        42.    Trinity, a red footed tortoise that was egg bound, passed several necrotic eggs in
May 2021, and was noted to have salpingitis. When Trinity was evaluated by a veterinarian, the
treatments provided were inadequate. The complete blood cell count revealed a markedly elevated
white blood cell count which supports an active systemic infection. The chemistry panel revealed
a Calcium: Phosphorus ratio of 1:1 which supports a diagnosis of metabolic bone disease as an
underlying cause of the egg binding. The uric acid (kidney value) was markedly elevated (10.2
mg/dL), which is approximately ten times the normal range. This animal was clearly dehydrated
and suffering kidney damage from the dehydration. There is no note of any treatment beyond a
single calcium and oxytocin injection that was recommended because of the egg binding.49
Standard minimal treatments would include nutritional improvements, provision of proper UV
light spectrum, calcium supplements, antibiotics, and analgesics at a minimum. In addition, an
ionized calcium was not performed, which is essential in monitoring the response to treatment for
metabolic bone disease in reptiles.

        43.     Prior to her death, Mr. Candy reported that the Trinity was “very lethargic” and
that, despite soaking her, her condition was “reoccurring.”50 Mr. Candy erroneously believed that
the tortoise was suffering from a respiratory issue, when in fact it was an egg-binding problem that
was improperly treated and led to death.51 Early recognition that the animal was ill followed by
appropriate intervention and provision of proper veterinary care could have saved Trinity’s life
and prevented her pain and suffering.

       k)       Chickens and roosters

        44.     The majority of the chickens and roosters I evaluated had evidence of
pododermatitis lesions on the bottoms of their feet. I witnessed several chickens limping or
demonstrating some form of lameness during Plaintiffs’ July 19, 2021 site inspection. In
PETA011857, a chicken is seen holding the right leg in extension and laying on the keel bone.
This is an abnormal posture and could be secondary to orthopedic injury, a foreign body in the
foot, pododermatitis lesions, neurologic disease, spinal disease or an intracoelomic mass or egg
binding that is causing compression of the sciatic nerve. There are no records indicating that any


48
   See MADER’S REPTILE AND AMPHIBIAN MEDICINE AND SURGERY, supra note 6; Lafeber Vet,
https://lafeber.com/vet/ (last accessed Sept. 10, 2021).
49
     See Exotic Animal Record, Trinity, CAH00187–190.
50
     Gold Dep., Jul. 15, 2021, Exh. 88 at 54.
51
     Gold Dep. 82:17–21, Jul. 15, 2021.

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of the chickens have been evaluated by a veterinarian.52 The animal needs to be evaluated and, at
a minimum, have radiographs performed of the limb and coelomic cavity to further assess the
cause. In PETA011836, another chicken can be seen displaying left pelvic limb lameness which
is likely secondary the above mentioned causes, all of which are painful and cause suffering to the
birds.

        45.     The feathers on the birds were dull and dry, and multiple chickens had pale combs
which is indicative of poor nutrition and dehydration. The area I observed the chickens in had
improper substrate (hard flooring or dirt with excess waste accumulation) which predisposes them
to foot sores. Chickens are prey animals and there are numerous free-ranging domestic/feral cats
on the property that can chase, harm, and injure the chickens at any time. This threatens the welfare
of the chickens as it can cause chronic stress, and pain and infection if they are injured.

           l)      Geese

        46.     The free roaming geese had severely overgrown nails and pododermatitis lesions
on the plantar surfaces of their feet. They did not have access to clean water, proper nutrition, or a
clean pond to swim in. One goose had a laceration on the webbing of the foot and there was, among
other hazards, an open exacto knife on the ground near where the geese were roaming. This puts
the animals at risk of injury unnecessarily. Like chickens, geese are prey animals, and the
numerous free-ranging domestic/feral cats can chase, harm, and injure the geese at any time. This
threatens the welfare of the geese.

           m)      Llama/Alpaca mix

        47.    Casper, the purported llama/alpaca mix, was described by Tri-State’s former
attending veterinarian to exhibit “aggression characteristic of ‘beserker male llama’ syndrome.”53
Prior to diagnosing the animal with this condition, health issues should be ruled out with a sedated
exam. Dr. Duncan performed a cursory exam of the llama on 5/17/2018, and vaccinated the llama
on 6/26/19.54 Dr. Duncan did not conduct a sedated oral exam to check for dental issues including
tooth impactions that occur commonly in this species, cause pain, and contribute to aggressive
behavior.55

       48.     In addition, the llama’s hooves are overgrown, which can cause osteoarthritis.
Osteoarthritis is a painful condition that could also explain the previously noted aggressive
behavior. During the July 19, 2021 site inspection, I observed the llama’s hooves to be markedly
overgrown. Castration was recommended by Dr. Duncan, however, Mr. Candy “was not interested
in guilding him.”56 Based on my review of the footage and my observations during the site

52
  Gold Dep. 108:19–1, Jul. 22, 2021 (“Q. Did you ever examine or treat the . . . chickens at Tri-State? A. I
have not.”); Duncan Dep. 23:21–24:3, June 30, 2021 (testifying that geese, turkey, peacocks and chickens
were not included in the PVC and that Mr. Candy “said they didn’t need to be seen.”).
53
     Duncan Dep., June 30, 2021, Exh. 65 at MVS00258.
54
     Id.
55
     Duncan Dep. 167:13–14, June 30, 2021 (“I did not do a full oral exam given his fractious behavior.)
56
     Id. at 166:8–11 & Exh. 65 at MVS00258.

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inspection, the llama is routinely housed in a filthy pen with accumulation of waste, lack of
enrichment, and clean water.

       n)      Sheep

        49.     The sheep, Lucky, has wry neck left lateral torticollis that has never been properly
investigated by a veterinarian.57 The animal has not received a proper diagnosis or examination,
which would include spinal MRI, blood work, radiographs, and infectious disease testing. Instead,
Lucky is left untreated for a severe condition of head tilt and torticollis that is highly likely to be
causing the sheep chronic pain. The condition is considered painful, as over time, arthritis in the
vertebrae can occur secondary to the abnormal angle, and corneal ulcerations can occur on the
affected side, as it is difficult for Lucky to protect the eye from trauma or dust.

       o)      Goats

        50.    The goats did not have easy access to clean water. Goats should have unlimited
access to fresh water, grass, and hay at all times. The goats’ hooves were also overgrown which
leads to chronic pain and development of osteoarthritis.

         51.     Princess, who was not accessible during the site inspection because she sat in a dark
corner of a barn, was previously housed with at least one goat that tested positive for Caprine
Arthritis Encephalitis Virus (CAE).58 Princess was never tested for CAE, but given her exposure,
she could be a carrier of this highly contagious disease. Contrary to industry practice and Dr.
Duncan’s recommendation, Tri-State does not appear to isolate CAE positive goats or potential
CAE carriers from new goats that arrive.59 This disease is highly contagious, often fatal, and
predisposes the animals to painful arthritis and chronic lameness. Any healthy goats that arrive at
Tri-State may therefore be exposed to a virus that will lead to chronic and irreversible, painful
arthritis or encephalitis, or eventually kill them. There is no veterinary oversight or quarantine plan
in place to protect the welfare of the goats housed at Tri-State.

       p)      Pigs

        52.    Snorkle, the male Vietnamese pot belly pig near the facility entrance, had a large
mass in the region of his left testicle estimated at 10x10 cm.60 This tumor is pressing up on
Snorkle’s rectum, which is likely causing painful defecation. At the time of the inspection, Snorkle
also appeared to have difficulty walking due the tumor’s large size and location; the rear limb was
hitting it with every step Snorkle took. The tumor needs to be removed and histopathology
performed on the mass to screen for cancer. To date, no such diagnostics have been performed.61

57
     Duncan Dep., June 30, 2021, Exh. 62 at MVS00256.
58
     Duncan Dep., June 30, 2021, Exh. 63 at MVS00131.
59
     Duncan Dep. 161:2–163:5, June 30, 2021.
60
     PETA011274, PETA011676, PETA010458 (Jul. 19, 2021).
61
  See, e.g., Declaration of Fred Adams, DVM at ¶¶ 2–3 (Jul. 21, 2021) (“I visited [Tri-State] . . . on or
about March 27, 2021. At that time, I visually inspected a potbelly pig. I did not provide any veterinary
care to the animals at Tri-State during my visit in March 2021.”).

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The pig also needs to be put on pain medication. During my evaluation, I noted the pig had an
increased respiratory rate and effort which could be secondary to pain, pneumonia, obesity or a
combination of the three. At minimum the pig should receive an anti-inflammatory and opioid
analgesic at regular intervals and the mass should be removed by a competent veterinarian. Due to
Snorkle’s obesity and based on my observations during the site inspection, Snorkle’s pain may due
to osteoarthritis, which is common in obese pot belly pigs. The same pig also has a growth on his
left lower gingiva.62 This growth, which is in a location that the upper tusk contacts, is likely
causing pain and making it difficult for Snorkle to chew food. The growth should be removed and
biopsied to screen for cancer.

        53.     As noted above, the pig is obese and needs a diet evaluation by a veterinarian
experienced with pigs. During the Plaintiffs’ July 19, 2021 site inspection, the water in his trough
was brown, filthy, and not suitable for drinking. This is particularly concerning because pigs will
not drink filthy water; they are highly susceptible to “salt toxicity,” a neurological condition of
cerebral swelling that occurs secondary to not having constant access to clean water. Additionally,
the pig does not have adequate shade or shelter from the elements. The pig also has overgrown
hooves and tusks. Collectively, the large testicular region tumor, mass on the lower lip, overgrown
hooves are all painful conditions, likely exacerbated by his obesity. Failure to treat these conditions
and manage Snorkle’s pain causes unnecessary suffering.

         54.    Isabell the Vietnamese pot belly pig is obese and has bilateral entropion.63 During
the site inspection, Mr. Candy stated that his former-attending veterinarian, Dr. Duncan, said there
was no point in repairing the entropion. Entropion is an abnormal rolling inward of the eyelid
which results in the eyelashes constantly scraping against the cornea (eye surface) which causes a
constant irritation and painful sensation, similar to having sand in the eyes. Over time, corneal
ulceration, eye infection, and even rupture can occur secondary to this condition. The condition is
best treated with surgical repair. I routinely have performed this surgery in pot-bellied pigs with
success. In addition to entropion correction surgery, eye lubricants can be used to improve comfort
of the eye and reduce the ocular pain; a change in diet is also indicated to encourage weight loss.
There are no records to suggest that Tri-State has done anything to even try to alleviate Isabell’s
pain or treat her condition.

       q)      Emus

       55.    The emus were housed in a filthy pen with poor drainage, trip hazards and rusty
cage wires poking inward toward the animals.64 The animals are at risk of developing
pododermatitis lesions on their feet secondary to filthy substrate. The animals are also at risk of
developing lacerations and wounds secondary to the sharp rusted fence wires in the enclosures.
According to Dr. Gold, he examined the emus on October 11, 2020, and determined they were
within normal limits.65 He also stated that he did not perform a diet analysis or collect bloodwork,
which would be necessary to assess their organ function and white and red blood cell counts, or
62
     PETA011775 (Jul. 19, 2021).
63
     Duncan Dep., June 30, 2021, Exh. 61 at MVS00229–230.
64
     See, e.g., PETA012068 & PETA011934 (Jul. 19, 2021).
65
     Gold Dep., Jul. 22, 2021, Exh. 116 (animal record for Emus).

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perform a fecal exam for gastrointestinal parasites. Dr. Gold also noted that he did not see any
heating elements in the indoor barn for the emus.66 The animals have not been examined since. On
my visual inspection on July 19, 2021, I noted the emus had dry and dull feathers, which can
indicate liver disease and nutritional deficiencies. Emus are extremely sensitive to cold-wet
conditions because their feathers lack proper water-proofing and insulation properties. The animals
have only one documented veterinary exam by Dr. Gold, mentioned above, even though they have
been housed at Tri-State since September 2016.67 The emu enclosures lack proper shelter from
cold and wet conditions and the minimal veterinary care that has been provided, one cursory exam
in five years, has been insufficient. At a minimum, a nutritional analysis and fecal parasite
evaluation should be performed annually and their weights should be monitored.68 Blood
collection for biochemistry panel and complete blood cell counts should also be performed to fully
assess the birds’ health.

       r)       Raccoon

        56.     Garcia the raccoon is housed in a filthy enclosure with straw bedding that contains
an excess of urine and has a pungent odor. The pen has countless rusted bars with sharp edges that
could cause injury to Garcia. Garcia can reach his arms and teeth out through the fence which
poses a risk to visitors, staff and Garcia.69 There are plants with sharp thorns in his enclosure which
could lodge in his feet and enter his nasal cavity causing a nasal foreign body.70 There are also
berries and plants in Garcia’s pen that may be toxic to him.71 It is unclear whether Tri-State has
ever assessed the safety of these plants.

        57.     In a video that was posted to Facebook, members of the public are shown reaching
their arms through the fence, petting, and allowing Garcia the raccoon to bite at their fingers.72
This is extremely dangerous for several reasons. Raccoons are a well-documented rabies vector,
and famous for carrying Baylis ascaris, a roundworm parasite that can cause fatal encephalitis in
humans. If the raccoon bites and breaks the skin of a zoo guest or staff, and the vaccine status is
not current, the only rabies prophylaxis protocol is to kill and submit the animals’ severed head
for rabies testing, and to vaccinate the people at risk for rabies. Although Garcia was vaccinated
for rabies in October 2020, there is no record indicating that Tri-State has ever vaccinated the three
other raccoons (Odie, Stella, Rocket) that were in Tri-State’s possession in the last five years.73This
unnecessary allowance of direct contact with the raccoon violates the welfare of the raccoon as it
jeopardizes his life as he may need to be euthanized for rabies testing. Allowing members of the
public to directly contact an adult raccoon is an egregious safety violation that could result in injury

66
     Gold. Dep. 97:21–98:7, 99:3–11, Jul. 22, 2021.
67
     See Candy 30(b)(6), Aug. 11, 2021, Exh. 132.
68
     The animals should be trained to step on scales so their weights can be monitored.
69
     See, e.g., PETA011496 (Jul. 19, 2021).
70
     See PETA010435 (Jul. 19, 2021).
71
     See PETA010040 (Jul. 19, 2021).
72
     PETA012457.
73
     See Gold Dep., Jul. 15, 2021, Exh. 96 (animal record for Garcia the raccoon).

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or death of a zoo visitor, staff, or the raccoon, Garcia, himself. By allowing direct contact between
members of the public and the raccoon, Mr. Candy is demonstrating an extremely reckless
behavior that not only disregards the animal’s welfare and life but endangers his staff and zoo
guests as both rabies virus and Baylis ascaris have resulted in human deaths.

       s)      Coatimundi

        58.    The coatimundi enclosure was dirty and barren with minimal climbing structures
or enrichment. During the July 2021 site inspection, the coatimundis exhibited stereotypic pacing
behaviors while I observed them.

        59.     The coatimundis can carry baylisascaris and rabies—as they are not, and appear to
have never been vaccinated74—and yet Mr. Candy was sticking his fingers in the cage during the
site visit and engaging in unnecessary contact with the coatimundis after handing several other
animals on exhibit. He has also allowed public contact with the coatimundi. In an image posted to
Faceboo, there is a child with a coatimundi on his back and the animal’s mouth is contacting the
back of the child’s head. 75 This is an egregious public safety and animal welfare concern, in part
because coatimundis are known rabies vectors and carry baylisascaris procyonis, the roundworm
that causes encephalitis in humans. If the animal bites the child, the coatimundi will likely need to
be euthanized so his head can be submitted for rabies testing.

        60.    The coatimundis do not receive adequate veterinary care or nutritional
recommendations from a qualified veterinarian. Dr. Gold, who previously referred to them as
“over-nutritionalized,” did not provide any written nutritional recommendations or weight loss
plans for the animals.76 This is concerning as animals that are overweight are prone to diabetes,
kidney disease, heart disease and osteoarthritis—all conditions that threaten the welfare of the
coatimundis. Dr. Duncan testified that she never physically examined the coatimundis during her
tenure as Tri-State’s veterinarian. Nor did the animals receive any vaccinations, dental exams,
blood work, or any other preventative care.77 Indeed, the only “care” the coatimunidis received
was a cursory physical exam by Dr. Gold in October 2020.78 This is also concerning as coatimundis
are in the procyonid family and highly susceptible to distemper virus, parvovirus and rabies
virus—all of which can be spread to them by the domestic cats that free-roam the zoo.

       t)      Macaws

         61.     Both of the macaws had stress bars (lines that run crosswise through a feather shaft
illustrating that inadequate diet, high stress, or illness was present during the time that the feather
was being formed) on the tail feathers and primary feathers. Both of the birds had evidence of

74
  See, e.g., Gold Dep. 174:10–14, Jul. 15, 2021 (“Q. Did you vaccinate [the coatimundis]? A. No. Q. And
why not? A. I wasn’t prepared to vaccinate them at that time.”); Duncan Dep. 119:15–17, June 30, 2021
(“Q. Did the[ coatimundis] receive any vaccinations? A. Not from us.”).
75
     See Candy 30(b)(6)(Dep), Aug. 11, 2019, Exh. 160.
76
     Gold Dep. 174:15–19 & Exh. 99 (animal records for coatimundis).
77
     Duncan Dep. 119:4–17, June 30, 2021.
78
     Gold Dep. 173:16–174:14, Jul. 15, 2021.

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feather destructive behavior and there was a large amount of accumulated feathers in the pen. The
feathers were dry and dull, which is often an indicator of poor nutrition and/or lack of humidity.
The lack of humidity in the enclosures at Tri-State, and its apparent failure to monitor and regulate
the same, can cause dermatitis, pruritus, and over-preening, which in captive, socially isolated
parrots, can lead to feather destructive behavior.

        62.    At the time of the July 19, 2021 inspection, the majority of the birds’ diet consisted
of seed mix, which is completely inappropriate for most avian species and devoid of vitamin A,
calcium, and essential fatty acids.79 The pellets that were offered appeared untouched. Improper
diets predispose the birds to hypovitaminosis A (leading to squamous metaplasia of the respiratory
tract, predisposing the birds to respiratory infections), atherosclerosis (predisposing the bird to
cardiac arrhythmias, congestive heart failure, and sudden death), and calcium deficiency
predisposing the birds to egg binding and pathologic bone fractures secondary to poor bone density
and lack of ability to fly and exercise.80

        63.    The macaw enclosure was filthy and appeared not to have been thoroughly cleaned
in weeks or months. The indoor macaw enclosure had a stench of a high volume of accumulated
mold, urine, feces and rotten food. The floor was dusty and contained an accumulation of feces
and urates.81 This is problematic because the avian respiratory tract is highly sensitive to
environmental stressors including dust from food waste and an accumulation of feces and urine.
The filthy conditions at Tri-State therefore predispose the birds to develop pneumonia. In addition,
there was an old heater and exposed wires within reach of the cage the macaws are kept in.82 This
poses a major threat to the birds’ safety as this is a fire and electrocution hazard.

         64.     During the site inspection, the Macaws were both hiding or nesting (or attempting
to nest) in the top half of what appeared to be a plastic small dog or cat crate. The plastic lid is not
tall enough to allow them to perch in an upright position. Both birds were visualized lying sternal
in an abnormal position, which can cause pododermatitis and keel bone sores.83 Their unusual
behaviors are likely a direct result of a lack of environmental stimulation, enrichment, and
socialization. Most parrot species live in flocks and spend their days foraging, socializing, and
preening their feathers. The birds at Tri-Sate are not provided with the environments or
opportunities to engage in any of these behaviors. There are no horizontal, appropriately sized
perches that do not contain rough surfaces or an accumulation of feces and urine for the macaws
to utilize. Nor could they comfortably perch on the diagonally angled firehoses in their enclosure.84

        65.     Additionally, the macaw enclosure is not large enough to allow flight. Macaws
require a large amount of space, such as an aviary or flight pens, that provide an opportunity for

79
     See, e.g., PETA011660 (Jul. 19, 2021).
 See, e.g., J. Jill Heatley & Juan Cornejo, Psittaciformes in 8 FOWLER’S ZOO AND WILD ANIMAL
80

MEDICINE (2015).
81
     See PETA010899, PETA011656, PETA011660 (Jul. 19, 2021).
82
     PETA011108 (Jul. 19, 2021).
83
     PETA011645 (Jul. 19, 2021).
84
     PETA011646 (Jul. 19, 2021).

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flight. Macaws enjoy frequent bathing and should always have access to baths or showers. I did
not see any appropriate bath or shower options in the macaw cage. The poor feather condition and
apparent feather destructive behavior are likely multifactorial and a result of boredom and
depression due to a lack of requisite space to allow the birds to exhibit normal behaviors, foraging
and enrichment items, proper humidity and provision of a bath, and proper nutrition.

         66.    The macaws housed at Tri-State do not receive routine veterinary care. Dr Duncan
stated that the birds were not included in the program of veterinary care during her tenure and that
she was not comfortable treating or evaluating the macaws.85 Because Tri-State does not currently
have an attending veterinarian, and because of the lack of program of care for the animals at the
facility, including the exotic and domestic birds, it is unlikely the parrots will receive care to
prevent unnecessary suffering or death in the event of an emergency.86

        67.    Mr. Candy clearly does not have the requisite knowledge or experience to
appropriately care for parrots or other avian species. For example, there are inadequate measures
taken to prevent rodents and wildlife from entering the parrot enclosures.87 Rodents can carry
parasites and viral diseases that can spread, and be fatal, to parrots. Indeed, according to a former
Tri-State volunteer, a bird who died at Tri-State had “wounds on his or her body” that “appeared
to be caused by rats.”88 Additionally, the winter housing of the parrots at Tri-State resulted in
deaths of several birds. In deposition testimony, Rella Moon and Mr. Candy described a day when
a propane-based heater was used to heat an indoor parrot house. The following day, approximately
12 birds were found dead, including cockatoos, parakeets, a macaw, and an Amazon parrot.89
Propane based heaters emit toxic gasses, including carbon monoxide, which are highly toxic to
birds and fatal once inhaled. These are horrific cases of animal suffering that were fully
preventable.

           ADDITIONAL EXAMPLES OF INADEQUATE VETERINARY CARE

        68.    Tri-State routinely does not provide adequate veterinary care to ill or injured
animals housed at Tri-State. When care is provided, it is not sufficiently documented in a medical
record—often a demonstration of wholly inadequate care by a veterinarian with no formal training
in exotic animal medicine.

       69.    For example, Dr. Fox evaluated a sulcata tortoise with a prolapsed penis and, in
response to a text message from someone at his clinic, he responded that it “probably needs


85
     See, e.g., Duncan Dep. 20:22–8, June 30, 2021.
86
  See Gold Dep. 51:4–7, Jul. 15, 2021 (“[Q.] Did you ever create a written program of veterinary care for
the animals at Tri-State? A. No. Like I said, we’re just in the beginning process.”); id. 177:12–15 (“Q. And
why do you laugh? A. Because you said Tri-State veterinarian. I’m . . . not a Tri-State veterinarian. I’m a
veterinarian that helps Tri-State. That’s why.”).
87
  William McGuire Decl. ¶ 15 (“I frequently noticed rodents at Tri-State, including in one of the bird
aviaries.”).
88
     Id. ¶ 16.
89
     Moon Dep. 125:16–126:3, Aug. 10, 2021; Candy 30(b)(6) 225:16– 227:10, June 24, 2021.

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attention” and recommended Epsom salt soaks.90 Epsom salts will dehydrate the tissue, and this
can cause necrosis and pain. Appropriate treatment recommendations would include antibiotics,
lube, dextrose soaks, calcium supplements, or sedated prolapse reduction. Instead, the animal
received substandard care and no follow-up on his condition. This caused unnecessary pain and
suffering.

        70.     Dr. Fox also treated Flower, a skunk with a ruptured mammary mass, and used
butorphanol and telazol to sedate and remove it.91 Both medications used for this surgery have
very little analgesic effect. Dr. Fox did not prescribe any post-operative pain medication for a
mastectomy, which is considered a very painful procedure in veterinary medicine.92 At minimum,
the skunk should have received an anti-inflammatory and opioid analgesic post-operation. The
lack of adequate veterinary care performed on the skunk caused unnecessary pain and suffering.

        71.    Dr. Gale Duncan stated in her deposition that she stopped serving as Tri-State’s
attending veterinarian in March or April of 2020 due to chronic non-compliance with her medical
recommendations.93 During her tenure as Tri-State’s attending veterinarian, her program of
veterinary care did not include the species she was uncomfortable with, or unqualified to, treat,
including the birds, reptiles, primates, coatimundis, kinkajous, porcupine, and opossums. Dr.
Duncan’s program of veterinary care also did not include the geese, turkey, peacocks, and chickens
because.94 Dr. Duncan did not perform any hands-on physical exam, bloodwork, radiographs, or
other diagnostics on any of the birds or reptiles, and therefore did not adequately assess their
overall health status. The failure of the attending vet to provide care to majority of the exotic
species housed at Tri-State has caused the animals to suffer. The animals have been forced to go
without veterinary care even in situations where basic pain management, wound care, antibiotics,
and fluid therapy could have been provided. This complete lack of care falls below commonly
accepted standards in the exotic animal community.

       72.     Dr. Duncan has documented multiple examples of Mr. Candy’s noncompliance
with her veterinary recommendations. For example, Mr. Candy either declined or failed to comply
with preventative care recommendations including fecal screening and vaccinations, diagnostics
and treatment, euthanasia, and necropsy.95 Chronic noncompliance with veterinary
recommendations negatively affected the welfare of the animals at Tri-Sate and fails to meet even
the most basic standards of care. Even Dr. Duncan acknowledged that the animals in Mr. Candy’s
care would be better off at a reputable facility because of Tri-State’s “lack of preventative care”



90
     FOX000003 (June 1, 2014).
91
     Western Maryland Animal Hospital, Inc., Patient Records, Flower, FOX000046–47.
92
     See id.
93
     Duncan Dep. 10:7–11:15, June 30, 2021.
94
     Id. 20:22–24:3.
95
   See, e.g., id. 39:10-42:16 (declining euthanasia and necropsy of Charlie the mountain lion); 51:3–9
(declining biopsy of two masses); 55:17–20 (declining vaccination of wild dog); 56:11–13 (declining
screening for endoparasites).

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and “the chronic noncompliance that [she] experienced while [she] was the attending
veterinarian.”96

        73.      Tri-State currently does not have an attending veterinarian and their consulting
veterinarian, Dr. Keith Gold, is providing substandard veterinary care.97 For example, Dr. Gold
routinely injects enrofloxacin intramuscularly into reptiles. This drug is known to cause injection-
site necrosis of muscle tissue, sterile abscess formation and skin discoloration when it is not diluted
and is contraindicated as an intramuscular injection for this reason. 88

          ENCLOSURE AND FACILITY HAZARDS DIRECTLY THREATEN THE SAFETY AND HEALTH
          OF THE ANIMALS AT TRI-STATE.

        74.     Safety hazards directly harm and pose risk of injury to the animals kept at Tri-State.
The hazards I witnessed on the day of my site inspection include wasp nests, sharp fences and
wires poking out, rusted cages and fencing, open drains, trip hazards, filthy standing water, filthy
food preparation surfaces, a dead lemur in the freezer where animal food is kept, and even an open
Exacto knife on the ground where the geese, poultry and domestic cats are allowed to free roam.
All these obvious violations of general exotic animal care standards were in plain site on the day
of a scheduled inspection, which demonstrates Tri-State and Mr. Candy’s lack of willingness to
improve the conditions to relieve animal suffering. The conditions demonstrate that Tri-State’s
staff, veterinarians, and owner, Mr. Candy, lack the knowledge to maintain the animals in
accordance with adequate and commonly accepted care standards.

          CONCLUSION

         75.    I have spent over eighteen years caring for exotic animals as a zookeeper, veterinary
assistant and a full-time exotic animal veterinarian. After careful review of the records in this case,
it is clear to me that the animals at Tri-State are routinely deprived of clean water, adequate
nutrition, proper shelter, clean habitats and bedding, and basic veterinary care—all in violation of
the most basic standards of care. Not only is Tri-State failing to provide basic food, water,
veterinary care, and shelter to the animals, but it is also miseducating the public on how these
animals should be cared for. The enclosures I inspected on the July 19, 2021 site inspection were
filthy, unsafe for the animals within them, and equally unsafe for the staff and members of the
public. Tri-State is one of the worst zoos I have ever encountered in my career working with exotic
animals.

        76.     The lack of care for the animals and the grounds of the facility, coupled with Tri-
State’s lack of formal zoonotic disease prevention program, pose hazards to the animals and the

96
     Id. 225:4–14.
97
  Gold Dep. 51:4–7, Jul. 15, 2021 (“[Q.] Did you ever create a written program of veterinary care for the
animals at Tri-State? A. No. Like I said, we’re just in the beginning process.”); id. 177:12–15 (“Q. And
why do you laugh? A. Because you said Tri-State veterinarian. I’m . . . not a Tri-State veterinarian. I’m a
veterinarian that helps Tri-State. That’s why.”).
88
     James Carpenter & Chris Marion, EXOTIC ANIMAL FORMULARY 84 (5th ed. 2018).



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public. This state of the facility is indicative of Mr. Candy’s lack of willingness to improve the
conditions of his zoo to protect his guests, staff, and relieve animal suffering. It also demonstrates
Mr. Candy’s lack of knowledge to maintain the animals in species-appropriate environments and
in accordance with commonly accepted care standards. It is my opinion that the animals will
continue to suffer due to the ongoing substandard conditions they are forced to endure at Tri-State.

       77.     Tri-State is continuing to provide the same substandard care it was cited for
multiple times over a decade ago by the USDA. Tri-State has not taken any effort to improve the
conditions of the animals it keeps and continues, over ten years later, to violate the most basic
standards of care. The owner of Tri-State, Mr. Candy has had over a decade to improve the
conditions for the animals he keeps, but has not done so. Tri-State will continue to act as an
egregious insult to the dignity of animal life until it is shut down permanently.

        78.     All the animals housed at Tri-State should be removed from the compound and
transferred to reputable facilities with proper knowledge and wherewithal to care for the animals.

       Pursuant to 28 U.S.C. § 1746, I, Laura Boehler, DVM declare under penalty of perjury that
the foregoing is true and correct.

EXECUTED on this 10th day of September 2021.



                                               __________________________

                                               Laura Boehler, DVM




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                                              Appendix I

                                      Laura Boehler, DVM
                                         2616 E Fox Hunt Drive
                                            Sandy UT, 84092
                                             (951) 533-8725
                                       laurakboehler@gmail.com
Education

Doctor of Veterinary Medicine, University of California Davis School of Veterinary Medicine,
Zoological medicine track. 2013.

Bachelor of Science in Zoology, California State Polytechnic University, Pomona, 2008.

Certifications

USDA National Accreditation

DEA Licensed



Expert Witness Experience

1. Performed a facility inspection and testified as an expert in Kuehl v. Sellner, No. EQCV008505 (Iowa
Dist. Ct.)

2. Performed a facility inspection and was deposed in Animal Legal Defense Fund v. Lucas, No. CV
2:19-40 (W.D. Pa.).

Veterinary Experience

April 2020-Current- Veterinarian for the Avian and Exotic Animal Department Mountain West
Veterinary Specialists
Responsible for building and maintaining an Avian and Exotic Animal Department
Performing routine exams, husbandry consults, grooming, dentals, general surgeries, spays, neuters,
emergency surgeries, advanced imaging and receiving after hour emergencies and general consults
for avian and exotic animals in Utah. Access to CT, ultrasound, radiographs on site and board-
certified surgeon for advanced soft tissue or orthopedic surgeries.

June 2018-April 2020 Senior Associate Veterinarian, Wasatch Exotic Pet Care, Cottonwood
Heights, UT. Full time associate veterinarian at exotic animal exclusive practice. Providing general
husbandry consults, surgical, intensive care and after-hours emergency care to companion small
mammals (rabbits, hedgehogs, sugar gliders, guinea pigs, mink, skunks, raccoons, rats, chinchillas,
squirrels, ferrets, hamsters), avian species (psittacine, raptors, waterfowl, poultry), Reptiles (snakes,
turtles, tortoises, lizards), Amphibians, Foxes, Pigs, goats, emus, perform house calls for pig
procedures and local sanctuaries. Special interest in rabbit and rodent dentistry and exotic mammal
soft tissue and orthopedic surgery. Common surgeries performed: spays and neuters,
ovariosalpingectomies on reptiles, splenectomies, cystotomies, liver lobectomies for liver lobe

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torsions in rabbits, limb amputations, FHO in small mammals, enucleations, entropion repairs,
pancreatectomies in ferrets with insulinoma. Average 55-70 hours per week.


September 2017-May 2018: Exotic Animal Veterinary Center. Pasadena CA. Providing part
time/relief services in a strictly exotics practice. Experience with managing emergencies,
appointments, soft tissue surgery and advanced dental work on avian and exotic animals.

January 2017-May 2018: Advanced Critical Care Emergency Specialty Services Hospital Culver
City and Torrance, CA. Full time Emergency veterinarian at a referral center in Los Angeles. Daily
experience with avian and exotic animal emergencies (rabbits, guinea pigs, birds, pot belly pigs,
raptors, wildlife and reptiles primarily), dog and cat emergencies and managing ICU cases in a
specialty and critical care practice. Daily use of ultrasound for rapid assessment of critical patients.
Daily rounds and case consults with multiple specialists.

November 2017 Hollywood Animals Veterinarian. Provided veterinary supervision of a tiger on set
of NCIS Los Angeles production.

November 2017-present (as needed basis): Fund for Animals Wildlife Rehabilitation Center,
Ramona, CA. Volunteer veterinary care provided as needed basis. Anesthetized and assisted in
humeral fracture repair of a wild bobcat that was ultimately released back into the wild.

September 2017-2018): Big Bear Alpine Zoo, Big Bear, CA
Providing veterinary care on as needed basis.

September 2015-January 2017: Westminster Veterinary Group, Westminster CA.
Full time associate veterinarian at avian and exotics small animal practice. Daily experience with a
variety of avian, wildlife and exotic species. Special interest in rabbit medicine, GI Stasis syndrome.
Variety of experience with advanced rabbit and rodent dentistry. Experience building relationships
with clients, daily case management, anesthesia, general surgery, dentistry, pain management,
emergencies, ultrasound, radiography, behavioral management, nutrition and husbandry. Consulting
with local specialists on advanced cases.

July 2014-September 2015: Save the Chimps, Fort Pierce, FL.
Full time associate veterinarian at the world’s largest chimpanzee sanctuary. Responsible for
maintaining the health and welfare of 250+ chimpanzees retired from biomedical research,
entertainment and roadside zoos. Daily case management, emergencies, immobilization, anesthesia,
physical exams, advanced diagnostics, surgery, pain management, behavioral management, training
for medical treatment and educating staff on safety and zoonotic disease transmission prevention.
Consulting with local specialists on advanced surgical cases. On call daily for after hour
emergencies. Presenting lectures for donors, local schools and staff. Mentoring extern veterinary
students. Participating in code red, hurricane and STAT drills. Dan-inject dart system.

June 2013-June 2014: VCA West Los Angeles, Los Angeles, CA.
One-year rotating internship in small animal medicine, surgery, and emergency. Primary case
responsibility on overnight emergency, surgery, anesthesia, general receiving, and hospitalized cases.
Working with specialists in advanced surgery, critical care and internal medicine. Case presentations
in rounds held twice daily. Attendance of continuing education lectures, journal club and morbidity


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and mortality rounds held twice weekly. Responsible for preparing presentations of medicine topics
for the monthly technical staff lectures. Spay and neuter surgeon for the West LA SPCA.

April 2014: Wasatch Exotic Pet Care. Salt Lake City, UT. 7-day rotation in companion exotic pet
medicine and surgery.

March 2014: Spay Neuter Project Los Angeles, CA. 7-day surgery rotation performing spays and
neuters on dogs and cats.

November 2013: Save the Chimps, Fort Pierce, FL. 7-day externship in chimpanzee medicine,
anesthesia and surgery.

November 2013: Aquarium of the Pacific, Long Beach, CA. Two-week rotation in aquatic animal
medicine, surgery and anesthesia. Experience with fish, marine mammals and penguins.

April 2013: The Wildlife Center of Virginia, Waynesboro, VA. One-month externship in clinical
wildlife anesthesia, medicine and surgery. Hands on experience with rehab and clinical management
of bald eagles, variety of species of hawks and owls, black bears, squirrels, opossums, rabbits, turtles.

January-March 2013: Gladys Porter Zoo, Brownsville, TX. Six-week externship in zoological and
wildlife anesthesia, medicine and surgery.

June-July 2012: Sacramento Zoo, Sacramento, CA. One-month externship in zoological medicine,
anesthesia, and surgery. Experience with immobilization of big cats, birds, anteaters, sloths,
primates. Presented a lecture on: Captive Black Bear Medicine and Anesthesia at the end of the
externship.

March 2012: Save the Chimps, Fort Pierce, FL. Two-week veterinary externship in chimpanzee
medicine, anesthesia and surgery.

December 2011: Yucaipa Animal Placement Society, Yucaipa, CA. Volunteer spay and neuter
surgeon for dogs and cats (performed under supervision of staff veterinarian).

May 2011 to November 2011: Woodland Veterinary Hospital, Woodland, CA. Veterinary assistant in
a small animal emergency and general practice setting.

June 2010 to September 2010: Animals Asia Foundation at the Sichuan Longqiao Moon Bear Rescue
Center, Longqiao, Sichuan Province, China. Veterinary assistant for 175 endangered bears rescued
from bile farms in China. Assisted in daily rounds, anesthesia, exams, dentistry, surgery
(cholecystectomies and dental extractions), and transport of bears. Occasional necropsies performed.

September 2010 to July 2011: UC Davis School of Veterinary Medicine Large Animal Teaching
Hospital. Large animal hospital Nurse Position. Performed treatments on the large animals (cattle,
goats, sheep and swine) hospitalized at the VMTH.


Veterinary Continuing Education Courses
August 2020 Exotics Con. Six Day Virtual Continuing Education Conference on Avian and Exotic
Animal Medicine and Surgery.
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January 2020 North American Veterinary Conference, Orlando FL. Exotic animal medicine and
surgery track.

January 2019: North American Veterinary Conference, Orlando FL. Exotic animal medicine and
surgery track. 41 hours of continuing education. Six-hour rabbit and rodent advanced dental lab.

March 2018: National Wildlife Rehabilitators Association Symposium 2018: Veterinary Seminar,
Widlife Rehabilitation for private practice.

March 2018 (planned attendance) Wisconsin Exotic Animal Veterinary Conference: Two-day course
in avian, reptile and exotic mammal medicine lectures -4-hour avian orthopedics lab, 4 hour rabbit
dentistry lab.

August 2016: Universal Imaging: Intermediate Small Animal Abdominal Ultrasound. 16 hour course.

May 2016: Quality Small Mammal Anesthesia Course

December 2015: Simple surgical extractions in the dog and cat 5 hour webinar

September 2015: American Association of Zoo Veterinarians: Exotic Animal Medicine for the
Clinical Practitioner. 14 hour course.

June 18th-30th, 2011: MARVET- Marine Mammal Veterinary Medicine Course. Playa Del Carmen,
Mexico. Biology, pathology, clinical care and conservation medicine of dolphins, manatees,
pinnipeds and sea turtles.

April 2011: Field Techniques for Assessment of Wildlife and Ecosystem Health Course.

April 2010: National Wildlife Rehabilitators Association: Wildlife Medicine Course.

January 2010: San Francisco Bay Oiled Wildlife Care and Education Center Fairfield, CA Oiled
Wildlife Care Course.

July 2008: California Department of Fish and Game, Palm Springs, CA. Fundamentals of Wildlife
Rehabilitation Course.

February 2006: Wildlife Pharmaceuticals. Austin, TX. Wildlife Anesthesia, Capture & Handling of
African & North American Species.


Pre-veterinary experience (Vet assistant, wildlife rescue and rehab)

January 2009 to July 2010: TLC Pet Medical Center, West Hollywood, CA. Veterinary assistant for a
small animal general practice, emergency and specialty hospital.

 July 2008 to December 2008: Primarily Primates Inc. Animal Sanctuary, San Antonio, TX.
Veterinary assistant, chimpanzee caregiver. Assisted in daily veterinary care and immobilization of
chimpanzees, big cats, ungulates, variety of species of small primates.
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August 2007: Feral Cat Alliance, Los Angeles, CA. Volunteer veterinary assistant. FELV/FIV testing
all stray cats entered into the adoption program. Trapping of feral cats for spay/neuter and
vaccination programs.

January 2006 to June 2008: Inland Valley Emergency Pet Clinic, Upland, CA. Veterinary assistant.

June 2006 to May 2007: Cal State Polytechnic, Pomona Beef Cattle Calving Unit. Pomona, CA.
Student Live-in. Monitored calving, assisted with calving difficulties, newborn exams, vaccinated
cattle, blood draws for anaplasmosis testing of the herd, assisted with estrous synchronization and AI
of cows.

August 2005 to February 2006: Animal Emergency Clinic of Grand Terrace, Grand Terrace, CA.
Veterinary assistant for small animal emergency clinic.

June 2005 to present (as needed basis): The Paw Project, Santa Monica, CA. Veterinary Assistant
Assisted staff veterinarian with chemical immobilization, anesthesia monitoring, and diagnostic
sample collections performed on tigers, bobcats, lions and leopards.

October 2004 to March 2006: Banfield Pet Hospital, Riverside, CA. Pet nurse for small animal and
companion exotics hospital.

January 2004 to March 2005: Tiger Rescue, Colton, CA. Volunteer animal caregiver at a tiger rescue
project. The largest big cat rescue in U.S. history. Feeding, cleaning cages and eventually preparing
the cats for transport to norther California sanctuary.

January 2006 to July 2009: Marine Animal Rescue, El Segundo, CA. Paid Internship. Responded to
marine wildlife emergencies along the pacific coast and offshore waters of LA County.

March 2008 to June 2008: Opossum Society of the United States, San Bernardino, CA. Animal
rehabilitation volunteer.

March 2005 to May 2007: The Fund for Animals Wildlife Rehabilitation Center, Ramona, CA.
Wildlife rehabilitation volunteer.

January 2005 to February 2006: Forever Wild Exotic Animal Sanctuary, Phelan, CA. Exotic animal
sanctuary volunteer.

April 2003 to April 2004 : Wildlife Way Station, Sylmar, CA. Exotic animal sanctuary volunteer.

October 2003: Desert Tortoise Preserve Committee Work Party, Mojave Desert, CA

August 2002 to January 2003: Reptile Rhapsody, Riverside, CA. Volunteer at reptile rescue.

Hobbies
Rock climbing, wildlife rehabilitation, cycling




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                                           Appendix II
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